              IN THE COURT OF CRIMINAL APPEALS
                          OF TEXAS
                                         NO. WR-85,928-01


               EX PARTE KAITLYN LUCRETIA RITCHERSON, Applicant


               ON APPLICATION FOR A WRIT OF HABEAS CORPUS
           CAUSE NO. D-1-DC-11-302663-A IN THE 331ST DISTRICT COURT
                            FROM TRAVIS COUNTY


        Per curiam.

                                            OPINION

        Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the

clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte

Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of murder and

sentenced to twenty-five years’ imprisonment. The Third Court of Appeals affirmed her conviction.

Ritcherson v. State, 476 S.W.3d 111 (Tex. App. — Austin, Aug. 31, 2015).

        In this application, filed on her behalf by appellate counsel, Applicant contends that she was

denied her right to petition this Court for discretionary review because of appellate counsel’s

deficient performance.     Appellate counsel advised Applicant that he would file a petition for
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discretionary review on her behalf. After requesting and obtaining an extension of time from this

Court, appellate counsel erroneously miscalculated the new due date for the petition for discretionary

review. As a result of this miscalculation, appellate counsel failed to timely file the petition for

discretionary review or request another extension of time from this Court.

        Appellate counsel filed an affidavit with the trial court. Based on that affidavit, the trial court

has entered findings of fact and conclusions of law finding that appellate counsel failed to timely file

Applicant’s petition for discretionary review after advising her that he would file a petition on her

behalf. The trial court recommends that relief be granted. Ex parte Wilson, 956 S.W.2d 25 (Tex.

Crim. App. 1997).

        We find, therefore, that Applicant is entitled to the opportunity to file an out-of-time petition

for discretionary review of the judgment of the Third Court of Appeals in Cause No. 03-13-00804-

CR that affirmed her conviction in Cause No. D-1-DC-11-302663 from the 331st District Court of

Travis County. Applicant shall file her petition for discretionary review with this Court within 30

days of the date on which this Court’s mandate issues.



Delivered: November 16, 2016
Do not publish
